                                                                       Case 1:12-cr-00320-JLT-BAM Document 44 Filed 11/27/13 Page 1 of 3


                                                                  1    LAW OFFICES OF YAN E. SHRAYBERMAN
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                                                                  3    Telephone:     (559) 779-2315
                                                                       Facsimile:     (213) 352-1010
                                                                  4
                                                                       Attorney for Defendant
                                                                  5    MIGUEL MANZO

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                                                                                                           UNITED STATES DISTRICT COURT,
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                                                                                                          EASTERN DISTRICT OF CALIFORNIA
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                                                                       UNITED STATES OF AMERICA,                                        Court Case#: 1:12-cr-00320-AWI-BAM
LAW OFFICES OF YAN E. SHRAYBERMAN




                                                                  12
                                                                                            Plaintiff,                                    STIPULATION AND O R D E R ON
                                                                  13                                                                         TEMPORARY MODIFICATION OF
                                    2131 Kern Street, Suite 131
                                    Fresno, CALIFORNIA 91724
                                    Telephone: (213)379-2315
                                    Facsimile: (213) 352 -1010




                                                                       v.                                                                    CONDITIONS OF RELEASE
                                                                  14
                                                                       MIGUEL MANZO
                                                                  15
                                                                                            Defendant.
                                                                  16

                                                                  17
                                                                                 Defendant MIGUEL MANZO, though his counsel, respectfully requests that he be allowed to
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                                                                       temporarily modify the conditions of his pre-trial release. Mr. MANZO wishes to travel overnight to
                                                                  19
                                                                       Central District, to the City of Santana to visit his grandmother, together with his brothers and mother.
                                                                  20   He requests for a leave on November 28, 2013 after his work at 5pm and return on December 2, 2013
                                                                  21   at 9pm. Mr. MANZO will abide by the curfew while in Santana and will check in with his pre-trial
                                                                  22   officer. On December 2, 2013, he will return to Fresno and will continue to be actively supervised by
                                                                  23   the Pre-Trial Services.
                                                                  24             MR.MANZO, never had any serious violations while on pre-trial release. This court has

                                                                  25   previously granted a modification of pre trial conditions, allowing his to travel to Santana for a family

                                                                  26   reunion. He has fully complied with courts conditions. In regard to this trip, this is may be the last

                                                                  27   time he will see elderly grandmother. He wishes to spend Thanksgiving with her and his brothers and

                                                                  28   mother.

                                                                                          Order on [ Proposed] Motion to Modification of Pre-Trial Conditions                   -1-
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                                                                               This counsel has spoken with the counsel for the government and there is no objection to this
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                                                                       temporary change of the conditions of his pretrial release. Likewise, Dan Stark of Pre-Trial Services
                                                                  3    and he also indicated that if the U.S. Attorney doesn’t object he would not object either.
                                                                  4

                                                                  5            Date:11/25/2013                                         /s/Yan E. Shrayberman
                                                                  6                                                                    YAN E. SHRAYBERMAN
                                                                  7            Date:11/25/2013                                         /s/ Miguel Manzo
                                                                  8                                                                    MIGUEL MANZO

                                                                  9            Date:11/25/2013                                         /s/Kimberly Sanchez

                                                                  10                                                                   KIMBERLY SANCHEZ.

                                                                  11
LAW OFFICES OF YAN E. SHRAYBERMAN




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                                                                  1                                    UNITED STATES DISTRICT COURT,
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                                                                  3                                    EASTERN DISTRICT OF CALIFORNIA
                                                                  4

                                                                  5    UNITED STATES OF AMERICA,                          Court Case#:1:12-cr-00320-AWI-BAM

                                                                  6                       Plaintiff,                       STIPULATION AND O R D E R ON
                                                                                                                              TEMPORARY MODIFICATION OF
                                                                  7    v.                                                     CONDITIONS OF RELEASE

                                                                  8    MIGUEL MANZO

                                                                  9                       Defendant.

                                                                  10

                                                                  11           IT IS ORDERED, that the conditions of MIGUEL MANZO’s pretrial release are hereby
LAW OFFICES OF YAN E. SHRAYBERMAN




                                                                  12   modified to reflect that MIGUEL MANZO may travel to the Central District, to the city of Santana on

                                                                  13   November 28, 2013 and returning December 2nd, 2013 and 9pm, and to any other reasonable
                                    Fresno, CALIFORNIA 91724
                                    2131 Kern Street, Suite 131

                                    Telephone: (213)379-2315
                                    Facsimile: (213) 352 -1010




                                                                       condition that pre-trial officer deems necessary. All other conditions remain in force.
                                                                  14
                                                                       IT IS SO ORDERED.
                                                                  15

                                                                  16        Dated:   November 27, 2013                            /s/ Barbara A. McAuliffe           _
                                                                                                                           UNITED STATES MAGISTRATE JUDGE
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